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    1                     UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
    2                            TAMPA DIVISION

    3     UNITED STATES OF AMERICA

    4

    5               vs.                 CASE NO. 8:07-cr-438-T-23MAP
                                        July 10, 2008
    6                                   Tampa, Florida
                                        8:46 a.m.
    7
          WILLIAM GARY SULLIVAN,
    8
                           Defendant.
    9
                                            /
   10
                    TRANSCRIPT OF EXCERPT OF PROCEEDINGS
   11                         SENTENCING HEARING
                         (Excluding sealed portions)
   12             BEFORE THE HONORABLE STEVEN D. MERRYDAY
                        UNITED STATES DISTRICT JUDGE
   13
          APPEARANCES :
   14
          For the Plaintiff :       Thomas Nelson Palermo
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                                      Tampa, Florida 33602
   24                                 813/301-5024

   25     Proceedings recorded and transcribed by
          computer-aided stenography.
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    1                        ADDITIONAL APPEARANCE

    2
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    1     (Call to order of the Court at 8:46 a.m.)

    2                 THE COURT:     Good morning .      We are

    3     together in Case 07-cr-438, United States of

    4     America vs. William Gary Sullivan .

    5                  Who speaks for the United States?

    6                 MR. PALERMO:      Your Honor, Thomas Palermo

    7     on behalf of the United States.            Good morning .

    8                 THE COURT:     Good morning , Mr. Palermo.

    9                  And who speaks for the defense?

   10                 MR. BROWN:     Jeff Brown on behalf of

   11     William Sullivan, and Curtis Murtha is also here

   12     as counsel of record.

   13                 THE COURT:     Good Morning , Mr. Brown and

   14     Mr. Murtha.

   15                  You are William Gary Sullivan ?

   16                 THE DEFENDANT:       Yes, sir.

   17                 THE COURT:     Mr. Sullivan , on November the

   18     28th of last year, you pled guilty to two counts

   19     of an information.        Count 1 charges you with

   20     conspiracy, in particular, a conspiracy to commit

   21     fraud in connection with computers in violation of

   22     Section 371 of Title 18.

   23                  I believe Count 2 charges fraud in

   24     connection with computers and in violation of

   25     parts of Section 1030 of Title 18 of the United
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    1     States Code.

    2                  I earlier entered an order that accepts

    3     your plea of guilty and that adjudges you guilty

    4     of both Counts 1 and Count 2, so as of this

    5     moment , your guilt of those two Counts is

    6     determined by your plea and my acceptance of your

    7     plea and it remains to determine your sentence,

    8     which I shall accomplish by first calculating an

    9     advisory sentence in accord with the United States

   10     Sentencing Guidelines , and then inviting both the

   11     United States and the defense to direct to my

   12     attention any matter under 18 U.S.C. § 3553(a) or

   13     in fact any other matter that I should consider in

   14     arriving at a final and reasonable sentence in

   15     accord with applicable law.

   16                  I will begin by asking Mr. Palermo if he

   17     has had an opportunity on behalf of the United

   18     States to review and evaluate the presentence

   19     report .    If so, whether there is an objection

   20     either to the factual accuracy of the report or to

   21     the application of the Sentencing Guidelines that

   22     is proposed by the United States Probation Office?

   23                 MR. PALERMO:      Your Honor, I have reviewed

   24     the presentence report and I have no objection to

   25     either the facts or the law.
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    1                 THE COURT:     Mr. Brown, have you and Mr.

    2     Sullivan similarly had an opportunity together to

    3     review and evaluate the presentence report?

    4                 MR. BROWN:     Yes, Your Honor.

    5                 THE COURT:     First, is there any objection

    6     to the facts statement contained in the

    7     presentence report ?

    8                 MR. BROWN:     Judge, when I went over this

    9     last night, I noticed that while my objection to

   10     Paragraph 32 -- excuse me, 33 and 36.             There are

   11     some facts that I would argue in Paragraph , I

   12     think it is 11, could be changed.

   13                  But I think it is more appropriate first

   14     to handle my objections, I guess, to Paragraphs 33

   15     and 36 .

   16                 THE COURT:     To the guideline calculation.

   17                 MR. BROWN:     Yes, and then maybe we can

   18     change facts , if I win those objections .

   19                 THE COURT:     Okay.    So we will defer a

   20     moment on the question of the facts, although to a

   21     certain extent it is necessary to fix the facts

   22     before we determine extrapolations from those

   23     facts, such as those in the guideline calculation.

   24                  I will give you a chance on it, Mr.

   25     Brown, to do it your way.          You are recognized to
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    1     advance any objections you have to the proposed

    2     guideline calculation .

    3                 MR. BROWN:     Thank you, Your Honor.         Your

    4     Honor, if I could draw the Court's attention first

    5     to Paragraph 33.

    6                 THE COURT:     Yes, sir.

    7                 MR. BROWN:     Paragraph 33 was a two-level

    8     increase under 2(b)1.1, Paragraph 3, Paragraph 9,

    9     Paragraph C --

   10                  THE COURT:     Right.

   11                  MR .    BROWN: -- indicating that in

   12     Probation 's opinion this offense involved

   13     sophisticated means.

   14                 THE COURT:     Right.

   15                 MR. BROWN:     As evidence therefor, they

   16     set out in that paragraph that the sophisticated

   17     means was the creation of a corporation which it

   18     said to facilitate and conceal the commission of

   19     the offense.        I am objecting to that application .

   20     What they are talking about is a corporation that

   21     was formed at the same time as the fraud began

   22     called S & S Corporation .

   23                  However, S & S Corporation wasn't done

   24     to facilitate the comission of the crime.               S & S

   25     Corporation was a corporation duly registered in
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    1     the State of Florida, in which Mr. Sullivan

    2     indicated with the state of Florida as a public

    3     record he was the President , the Vice-President,

    4     the registered agent.         The address for S & S

    5     Corporation wasn't some fictitious address or some

    6     P.O. Box; it was his home address .            S & S

    7     corporation was simply the vehicle wherein he

    8     received these checks from Mr. Curry (ph), an

    9     unindicted, what I believe, co-defendant or

   10     co-conspirator.       He took these checks, deposited

   11     them into the account for S & S, and then paid

   12     taxes on those on his tax returns .            There is

   13     nothing nefarious about this; it was completely

   14     open and obvious.        Anybody that wanted to check to

   15     see who owned S & S, would find that it's his name

   16     and it 's his address.

   17                  The checking account had all the checks

   18     in it.    It was completely easy for anybody to find

   19     it.    There was nothing done with S & S that

   20     facilitated the commission of the crime.               The

   21     crime occurred by taking the names off of the

   22     database and then turning those names over to Mr.

   23     Curry, however -- whether or not -- the fact that

   24     he got paid by Mr. Curry, that just simply was the

   25     fruits of the crime, so to speak, but S & S
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    1     Corporation had nothing to do with the

    2     facilitation of that, and it certainly didn't

    3     conceal anything.        Anybody that wanted to find out

    4     who the corporation was, was a direct link to Mr.

    5     Sullivan.     So I don't believe that it either

    6     facilitated or concealed the commission of the

    7     offense, so I don't believe that's appropriate.

    8                  I looked for case law on this because --

    9     and I am sure the Court has gone to the commentary

   10     and the application notes.          In the sophisticated

   11     means enhancement, under the application notes is

   12     for purposes of Subsection 9, excuse me,

   13     (b)(9)(C), "sophisticated means" means especially

   14     complex or especially intricate offense conduct

   15     pertaining to the execution or concealment of the

   16     offense.     I think what the guidelines are trying

   17     to accomplish here is not to apply this to every

   18     type of case , but only to a small percentage of

   19     cases that actually are especially complex or

   20     especially intricate.

   21                  It talks about, for example, in a

   22     telemarketing scheme, locating the main office of

   23     the scheme in one jurisdiction , but locating

   24     soliciting operations in another jurisdiction .

   25     And it talks about hiding assets or transactions
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    1     through both the use of fictitious entities,

    2     corporate shells, or offshore financial accounts ,

    3     which also ordinarily indicates sophisticated

    4     means, none of which we have here.

    5                 THE COURT:     This is not a corporate

    6     shell?

    7                 MR. BROWN:     No, I don't believe it's a

    8     corporate shell .      What they're indicating here,

    9     which would be something where you would not --

   10                 THE COURT:     This corporation had other

   11     assets ?

   12                 MR. BROWN:     It had other money that came

   13     into it.     It was not solely the money that came

   14     from Mike Curry .      It did have a small percentage

   15     of money that he was able to put in there.               But by

   16     and large , yes, 99 percent of it did come from

   17     there, but it wasn 't done -- there's no reason --

   18     this S & S Corporation didn't conceal anything,

   19     and it certainly didn't facilitate it.

   20                  If someone wanted to find out, like the

   21     government did, where the money came from, it was

   22     pretty easy to do -- where the money went to.

   23     It's all in checks .       They're all in the checking

   24     account.     Mr . Sullivan's name is on the checking

   25     account.     There 's nothing fictitious about this.
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     1     It was simply a vehicle created by him because he

     2     wanted to be able to obviously pay taxes, but

     3     thought that he could also, since he was making

     4     this money, deduct some expenses.            And by forming

     5     a corporation, you have much more leverage and

     6     much more of an ability to deduct some expenses

     7     than, such not, you do if you just sent the checks

     8     to himself.     But as far as concealing anything,

     9     there was nothing to conceal, and it certainly

    10     didn't facilitate it.

    11                  The case law that I found, while all

    12     helpful to me, in the Eleventh Circuit were all

    13     unpublished opinions.        However , I did find a case

    14     out of the Seventh Circuit:          United States of

    15     America vs. Patrick Allen (ph), decided in January

    16     of this year , involving a defendant that committed

    17     a fraud on Hewlett-Packard.          He did so by

    18     pretending to be a referral partner.             He basically

    19     went out and found -- Hewlett-Packard had a

    20     provision in which it paid people who referred

    21     business to them.       Well, he went out through an

    22     inside employee and found a lot of companies that

    23     had been buying HP computer s that didn't have a

    24     referral partner, and he then created false

    25     documents to pretend he was that referral partner,
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     1     to receive over $500,000.

     2                  It talked about the enhancement there

     3     where the Court affirmed that was a sophisticated

     4     means.    And it talks about that he evaded

     5     discovery for over a year by doctoring fax

     6     headers, fashioning phony e-mail addresses to

     7     resemble legitimate contact information .

     8     Moreover, after HP detected the fraud and removed

     9     him from its list of referral partners, he

    10     perpetrated a similar scheme with another company

    11     for another month.

    12                  And then it talked about some other

    13     cases that it found to be sophisticated, talking

    14     about finding sophistication where a defendant

    15     fooled a skilled neurologist and 14 insurers.               And

    16     tax fraud cases where a defendant falsified tax

    17     forms and used false Social Security numbers.               And

    18     another case where the defendant falsified

    19     business records using false names and providing

    20     misleading tax information.

    21                  And it seems that that's what most of

    22     the cases all talk about is this creating of

    23     fictitious invoices, double billing, changing the

    24     original shipping destinations and maximizing pay.

    25     All seem to be examples of what they're talking
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     1     about for this sophistication to apply.

     2                  My argument would be that doesn't apply

     3     to what we have here.        I know he created an S & S

     4     Corporation, but I think the enhancement is to

     5     apply to something that's much more sophisticated

     6     or intricate as the guidelines talk about, or

     7     especially complex than what we have here.               Had he

     8     changed -- had he had a fictitious name, had he

     9     used a P.O. Box or a different address, or done

    10     something that would indicate or make it hard for

    11     someone who found about S & S to find out who

    12     really does own S & S -- are they off shore?               Are

    13     they located in a different jurisdiction?              All of

    14     that might lead to sophisticated means, but

    15     there's none of that here.          It's not a fictitious

    16     name.    He is not making up a name.          He's not

    17     making up an address.        He is not using a P.O. box.

    18     He is not creating -- putting this in a different

    19     jurisdiction .     He's not doing anything that would

    20     lead the Government -- I think the government

    21     would concede, it was extremely easy to find out

    22     how he got paid , because there was S & S

    23     Corporation.      It's a public record.        It's listed

    24     in his name with his on address on it.

    25                  So I would argue that while I understand
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     1     that the guideline does say "Corporate Shells", I

     2     don 't believe that that's -- in looking at the

     3     rest of the guideline , that's what they're talking

     4     about, simply creating a corporation .            Maybe if

     5     you creat ed that corporation with a fictitious

     6     name or a different address or a false address, or

     7     as some of these -- the case that I cited, as some

     8     of the individuals did creating fake faxes or

     9     changing the headers on certain information.               But

    10     as far as this application, I would argue that it

    11     did not facilitate or conceal the commission of

    12     the offense.

    13                 THE COURT:     How long did the offense go

    14     undetected from start to --

    15                 MR. BROWN:     2002 to 2007, five years.          I

    16     can get into --

    17                 THE COURT:     Something worked.

    18                 MR. BROWN:     Well, that kind of ties into

    19     my other objection for abuse of position of trust.

    20     So if you want to reserve on that, I can --

    21                 THE COURT:     I think they are connected.

    22                 MR. BROWN:     To some extent, yes.        I have

    23     an argument as to that as well.

    24                 THE COURT:     I trusted that you did.         Let

    25     me see what Mr. Palermo's response is on behalf of
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     1     the United States on the question of sophisticated

     2     means.

     3                 MR. PALERMO:      Your Honor, the defendant

     4     was able to successfully conceal the activities

     5     for approximately five years.           And part of the

     6     successful concealment, I would pause it that --

     7     the name of the company was S & S Computer

     8     Services.     It was certainly disguised even by it's

     9     formation , what was going on in these series of

    10     transactions between the individuals .

    11                  The application notes, as Mr. Brown did

    12     indicate, state conduct such as hiding assets or

    13     transactions or both through the use of fictitious

    14     entities, corporate shells, or offshore financial

    15     accounts also would merely indicate sophisticated

    16     means.    In this case, I would pause it to the

    17     Court that S & S Computer Services essentially did

    18     nothing other than this.

    19                  Now, there are three transactions that I

    20     am aware of from their bank account in 2002:

    21     February 27th, 2002; March 4th, 2002; and March

    22     16th, 2002.

    23                 THE COURT:     I'm sorry, say that again.

    24     What happened on those three dates?

    25                 MR. PALERMO:      Three transactions that
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     1     were --

     2                  THE COURT:     I see.

     3                  MR . PALERMO: -- as far as I can tell

     4     that are unrelated to this.          Otherwise, the

     5     balance of the six hundred plus thousand dollars

     6     involved in this offense and the money flowing

     7     into S & S Computer Services in payment for the

     8     stolen data, that is what S & S Computer Services

     9     served to do .     There was no legitimate function.

    10     This is as far as I can tell a shell.             I would

    11     just limit my arguments to that.           I think the

    12     Court has already noted the success.             I leave it

    13     at that, Your Honor.

    14                 THE COURT:     I don't see anywhere in the

    15     commentary, or in the cases, or in two or three of

    16     the treatises that are out there any reference to

    17     the corporate alter ego concept, but it seems

    18     useful here.      If you were going to --

    19                  You furrow your brow, Mr. Brown.           It is

    20     obvious as the nose on your face that disregarding

    21     the corporate-ness of some entity would suggest

    22     that it was a shell.        So if someone were to look

    23     at this entity on the threshold question of is it

    24     a shell, for instance , if it had incurred a

    25     liability and had no assets with which to satisfy
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     1     that liability, I suspect that any court would

     2     have in the twinkling of an eye disregarded it and

     3     looked to the assets of the defendant.             It has no

     4     employees .     It has no corporate policy.         It has no

     5     corporate purpose that is ascertainable, distinct

     6     from this transaction .        It has no independent

     7     board.    It has no -- it has nothing.           It merely

     8     has the irreducible residual of corporate

     9     attributes until challenged is about what it had.

    10     I am satisfied it was a corporate shell.              It is

    11     almost de fiantly a corporate shell.

    12                   The question is:      Does it otherwise have

    13     any materiality in the question of whether the

    14     means that were employed in the offense were

    15     sophisticated?

    16                   And it's not clear to me whether the

    17     fact that this was not discovered for some time is

    18     more than tangentially related to the use of this

    19     shell, Mr . Palermo.       It looks like it may be a

    20     combination of factors that contributed to the

    21     extensive duration of this episode.            I am not sure

    22     that the shellness of this corporation contributed

    23     much to it.      It almost looks --

    24                   Well, let me just ask you to respond to

    25     this:    It looks like this fellow was so confident
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     1     he would not be detected otherwise that he created

     2     -- this stood no chance of slowing anyone down

     3     from finding him for even a second, even though it

     4     was a corporate shell.         So he was relying on other

     5     things and -- was he not?

     6                 MR. PALERMO:      He was in fact relying on

     7     other things in addition to the corporate shell.

     8     I have focused in on that particular portion of

     9     sophisticated mean s in part because that's the

    10     reason promulgated by U.S. Probation .            I do think

    11     that is probably a valid reason since it's one

    12     aspect of what is otherwise the course of conduct

    13     that led to why we're here today.            That Mr.

    14     Sullivan registered the corporation in his name, I

    15     am not sure necessarily makes it less

    16     sophisticated in its technique than it could

    17     otherwise have been.        Just because he wasn't

    18     Einstein in doing it doesn't mean that it's not

    19     more sophisticated than an ordinary individual

    20     coming in and committing a similar offense .

    21                 THE COURT:     Well, that is the test, isn't

    22     it?

    23                 MR. PALERMO:      Yes.

    24                 THE COURT:     The word sophisticated means

    25     is in parenthesis, although you can't see it, as
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     1     compared to the unspecified , typical instance of

     2     the same offense.

     3                 MR. PALERMO:      That would be my position ,

     4     that by using this it is different.            It is more

     5     sophisticated than the average or than the normal

     6     --

     7                 THE COURT:     Than the normal interceptor

     8     of private --

     9                 MR. PALERMO:      A rather narrow group of

    10     individuals.      I have no good case law.         To be

    11     candid with the Court, I found nothing

    12     specifically on this type of conduct that would

    13     give me a clear definition of how this was more

    14     sophisticated among defendants who are similarly

    15     situated for committing the same types of

    16     offenses.

    17                  But if the data itself was treated as

    18     nothing more than any other corporate property

    19     that was stolen , then this would be more

    20     sophisticated than someone who just simply wire

    21     transferred it to his own accounts.            He used a

    22     shell, a fence, if you will, that was created .              He

    23     used a fence that was created by himself to

    24     facilitate the exchange of the object for the

    25     money, whatever that object was.
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     1                 THE COURT:     There is no other

     2     paraphernalia in this episode, is there?              There is

     3     just the shellness of this corporation.             He was

     4     using it as a device to accumulate cash, or

     5     proceeds is a better word, I think.

     6                 MR. PALERMO:      Yes, it was the vehicle

     7     through which he was able to convert the stolen

     8     goods into something of value, that is, money.

     9     Not that the goods themselves weren't of value,

    10     but they're functionally not valuable to him other

    11     than what he can parlay them for, cash.

    12                 THE COURT:     Now, let me ask you this.

    13     Would this have been a sophisticated means scheme

    14     without the shell corporation if he had done it,

    15     say , using his brother-in-law?          I don't know that

    16     he has a brother-in-law, some agreed person, some

    17     stipulated person.

    18                 MR. PALERMO:      Probably not.      I'm not sure

    19     that the extra step -- it would have just simply

    20     been a different conspiracy rather than what it is

    21     today.

    22                 THE COURT:     I think I agree with that,

    23     Mr. Palermo.      I think that you lose when you agree

    24     to that on this set of facts.           I know that the

    25     commentary says "corporate shell" and this is a
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     1     corporate shell , I agree.        But it says that -- it

     2     indicates a sophisticated means.           Of course, the

     3     word "indicate" means is a sign of.            It does not

     4     mean equals invariably.         And I think it would need

     5     to say -- it would need to mean equals invariably

     6     in order for this device - not very effective , not

     7     very convincing , not very thought out, perhaps

     8     even mildly amateurish - to qualify as

     9     sophisticated means.

    10                  It was a means, but I'm not sure it was

    11     sophisticated, and I think that any, if there is

    12     such a thing , typical perpetrator is going to have

    13     some equivalent .      It's not going to do it in and

    14     out of his own wallet directly .          In and out of his

    15     own -- it is a close question and I will resolve

    16     the doubt in favor of the defense .           Sustained .

    17                  You better move along, Mr. Brown, before

    18     I change my mind.       That corporate shell is a

    19     pretty , pretty square hit.

    20                 MR. BROWN:     We're moving on, Judge.          I

    21     can 't move any faster than I'm going to do right

    22     now .

    23                  Judge , if we can go to Paragraph 36, and

    24     I'll need to approach at side bar, if I can.

    25                 THE COURT:     With counsel for the United
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     1     States ?   All right .     It's easier if you come

     2     around or just walk in front so she can get in the

     3     middle .   I take it you want an off-the-record side

     4     bar ?

     5                 MR. BROWN:     No, it's on the record.

     6                 THE COURT:     Okay.

     7                 (Sealed side bar discussion excluded from

     8     transcript.)

     9                  THE COURT:     The defendant has objected

    10     to the enhancement in Paragraph 36 of the

    11     presentence report with respect to a breach of

    12     trust, and I have overruled the objection, and the

    13     enhancement for breach of trust will remain.

    14                  The side bar conference contained

    15     material both pertinent to the question of breach

    16     of trust and of a subject matter typically subject

    17     to a seal in criminal cases, so I will seal the

    18     side bar pending further order of the Court.

    19                  Mr . Brown, had you any other objections

    20     to the application of the Sentencing Guidelines?

    21                 MR. BROWN:     No, Your Honor.

    22                 THE COURT:     All right.     In that case, if

    23     I understand it correctly, you also now have no

    24     out standing objection to the statement of facts.

    25                 MR. BROWN:     No, Your Honor.
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     1                 THE COURT:     In that case the Court adopts

     2     the facts statement contained in the presentence

     3     report and the Offense Level of 25, Criminal

     4     History Category I, which is the two levels -- two

     5     offense levels less than that recommended by the

     6     probation office.       The advisory guideline range is

     7     57 to 71.

     8                  Mr . Palermo, I noted no motion under 5K1

     9     or otherwise on behalf of this defendant by the

    10     United States, is that right?

    11                 MR. PALERMO:      That is correct, Your

    12     Honor.

    13                 THE COURT:     All right.     Mr. Brown, you

    14     are recognized to offer any matter in mitigation

    15     or any matter under 18 U.S.C. § 3553(a) that I

    16     should consider in formulating a final and

    17     reasonable sentence, after which I will recognize

    18     Mr. Sullivan in allocution.

    19                 MR. BROWN:     Can we approach again, Judge?

    20                 MR. PALERMO:      Your Honor, I just need a

    21     moment .    We may have gotten the guideline

    22     calculation wrong.       I just need a moment with Ms.

    23     Stafford, Your Honor.        I apologize.      I believe

    24     there was an additional enhancement that was

    25     stricken from a later iteration of the PSR, but I
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     1     am not sure about that and I would rather get it

     2     right if I could have one moment.

     3                 (Pause.)

     4                 THE COURT:     It becomes ambiguous whether

     5     you are speaking to one another or on the record,

     6     so if you want to talk to Ms. Stafford, why don't

     7     the two of you step over there and talk to her

     8     clearly off the record and we'll get this

     9     resolved.

    10                 (Pause.)

    11                 MR. PALERMO:      Your Honor, I have a letter

    12     from Probation Officer Glover from March 12, 2008

    13     indicating that she was eliminating the

    14     enhancement under 2B1.1(b)(14)(A).            I think --

    15                 THE PROBATION OFFICER :       That I was

    16     unaware of.

    17                 MR. PALERMO:      I believe that present

    18     before the Court is Officer Stafford rather than

    19     Officer Glover.

    20                 THE COURT:     Well, I can verify that.

    21                 MR. PALERMO:      I believe, Your Honor, that

    22     it is 23 and not 25.

    23                 THE COURT:     Well, it's not clear to me

    24     why that Paragraph 34 is not correct .            This was a

    25     Section 1030 offense --
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     1                 MR. PALERMO:      It was.

     2                 THE COURT:     -- and evidences an intent to

     3     obtain personal information .         Is there some reason

     4     that those two points are not applicable?

     5                 MR. PALERMO:      I am double checking now,

     6     Your Honor.     I got the letter from Officer Glover.

     7     I believe I had a discussion with Officer Glover,

     8     but I want to make sure that --

     9                  (Pause.)

    10                 MR. PALERMO:      I apologize.      It was my

    11     understanding from Beth's March 12th letter, by

    12     Officer Glover's March 12th letter, when she

    13     reviewed the application of 1030 -- well,

    14     application -- the Subsection (14)(a)(2), which

    15     refers back to 18 U.S.C. § 1030(a)(5)(A)(1).

    16                  10 30(a)(5)(A)(1) --

    17                 THE COURT:     That wasn't applied, was it?

    18     There is no four-level enhancement in here under

    19     the --

    20                 MR. PALERMO:      No.   I am trying to find

    21     the note that I had from Beth.           I am sorry, Your

    22     Honor.

    23                 THE COURT:     Each of those applies

    24     sequentially unless a greater one applies so that

    25     you are not doubling them.          So actually the least
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     1     one of them applied, and none of the greater ones

     2     applied.     So I think that that is correct, the two

     3     points .    Although, I would hesitate to argue with

     4     Ms. Glover, if she has made a determination to the

     5     contrary.

     6                 MR. PALERMO:      I am sorry, Your Honor.         It

     7     is correct that it should apply.           I do apologize .

     8     I just wanted to make sure that was right because

     9     I saw the letter from --

    10                 THE COURT:     What did you just learn that

    11     changed your mind?

    12                 MR. PALERMO:      I re-visited the actual

    13     text of the sentencing guidelines rather than the

    14     letter that I received from Officer Glover.               I

    15     think her assessment in the PSR is correct , and

    16     that the letter is --

    17                 THE COURT:     We have a letter from Ms.

    18     Glover which is demonstratively incorrect?

    19                 MR. BROWN:     I have several in my files.

    20                 THE COURT:     Okay.    It looks right to me.

    21                 MR. PALERMO:      I think it is, Your Honor.

    22     I just had a letter separately from Officer Glover

    23     that I thought --

    24                 THE COURT:     Okay.    It looks right and Mr.

    25     Brown is not objecting to it, although I'm sure he
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     1     will agree to object to it.

     2                 MR. BROWN:     I am standing mute.        I kind

     3     of like where we're headed.

     4                 MR. PALERMO:     I apologize.

     5                 THE COURT:     All right.     Then I persist in

     6     my determination that the Offense Level applicable

     7     is 25, the Criminal History Category is I, the

     8     applicable advisory guideline range is 57 to 71.

     9                  Mr . Brown is recognized to offer any

    10     matter in mitigation or any matter under 3553.               He

    11     has requested to come to side bar again, I assume

    12     to offer matter s in mitigation .         It's not

    13     typically a subject taken up at side bar, but

    14     sometimes , and we will take it up, at least

    15     preliminarily at side bar until I can determine

    16     whether it requires a seal.

    17                  So Mr. Brown and Mr. Palermo, you can

    18     come to side bar and we'll hear what you have to

    19     say .

    20                 (Sealed side bar discussion excluded from

    21     transcript.)

    22                 THE COURT:     Mr. Brown, anything further ?

    23                 MR. BROWN:     Your Honor, just in

    24     summation , Mr. Sullivan is 54-years-old.            I can't

    25     say he 's had no prior involvement with the law
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     1     because he did have a DUI that was reduced to

     2     reckless driving and I believe a petty theft.                But

     3     for 54 years , he has managed to avoid anything

     4     else.      He has just -- he and his wife, they have

     5     lost their jobs.       This was his job.

     6                   Besides some of the factors that I have

     7     announced at side bar, I would be asking this

     8     Court to impose a reasonable sentence.             I would

     9     ask that the Court impose a sentence under 36

    10     months .     At this point, Mr. Sullivan is ready for

    11     allocution.

    12                  THE COURT:    Mr. Sullivan , you do have an

    13     opportunity to speak this morning with respect to

    14     your prospective sentence and these offenses.                You

    15     are not required to say anything of course, but if

    16     you would like to say something, now would be the

    17     proper time.

    18                  THE DEFENDANT:     Yes, Your Honor, I would.

    19     I deeply regret what I did.          I in no way intended

    20     to cause anybody any grief or hardship.             I had no

    21     idea that Certegy would end up spending the amount

    22     of money they did.        I was 47-, 48-years-old, no

    23     401 (k), no savings.       My wife wasn't working.        Mike

    24     Courier (ph) approached me with this idea.

    25                  MR. BROWN:    I'm not so sure we should
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     1     talk about that .

     2                 THE DEFENDANT:      The bottom line is that

     3     it was -- at that particular time, it was easy to

     4     do, and I made a bad mistake.          I am not saying

     5     that just because I got caught.           Every week that

     6     it happened I regretted it, that I had to resort

     7     to that.     But it didn't stop me from doing it.

     8                  I tried my best to cooperate and tell

     9     everybody everything I know.          I got -- there is

    10     just so many things that I have gone through, and

    11     I know other people have, too.

    12                  Now taking care of my mentally

    13     handicapped sister is going to fall on my back.

    14     My mom is 82.      She's getting to the point where

    15     she can't care for her anymore .

    16                  I don't have a clue what I'm going to do

    17     as a livelihood .      I serious ly doubt anybody is

    18     going to hire me for what I've worked 40 plus

    19     years to do.

    20                  I am going to stand up, be a man, take

    21     my punishment, and try to move on.            That's it.

    22                 THE COURT:     Thank you, Mr. Sullivan.

    23                  Mr . Palermo, what says the United States

    24     with respect to matters under 18 U.S.C. § 3553 and

    25     a reasonable sentence under the circumstances?
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     1                 MR. PALERMO:     Your Honor, this particular

     2     offense does contain within it some interesting or

     3     at least novel aspects.         I think the first place I

     4     would like to start in describing the nature of

     5     the offense and the seriousness of it is to begin

     6     with a sentencing by the number, so to speak.

     7                  The defendant was employed by Certegy

     8     for approximately nine years, and of those nine

     9     years for at least five of them, from 2002 to

    10     2007, he was involved in stealing from Certegy the

    11     data of consumers.

    12                  There were seven class action lawsuits

    13     filed against Certegy.         Six remain.     They are in

    14     various stages of settlement.          The printing and

    15     mail required to notify the individuals whose

    16     identity information was stolen was $3.2 million .

    17     Part of the reason why it was so high was because

    18     there were over 5.9 million people that Certegy

    19     was required to notify.         I would pause it that, in

    20     fact, the number of people's information involved

    21     was actually higher than that, because the

    22     individuals whose data was taken that was just

    23     simply publicly available information residing in

    24     the database , they may not have had to have been

    25     notified at least by the means that Certegy has
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     1     used.      That is 8,413,806 individuals .        That's the

     2     people in all 50 states, the Virgin Islands, the

     3     District of Columbia, Puerto Rico, the Armed

     4     Forces , the P.O. boxes around the world where our

     5     service members are stationed.           And it is also

     6     international, although it's not a lot.             It's 142

     7     individuals who were not in the United States

     8     whose data was stolen.         From the State of Florida

     9     alone, it was 277,603 individuals whose bank

    10     account information was given; 115,137 consumers

    11     with credit and debt account information; 68,394

    12     consumer records with no financial information

    13     attached.      There are over $233,000 paid in outside

    14     counsel fees , $400,000 in legal fees for the class

    15     action lawsuits , $2.35 billion to be paid for

    16     plaintiff s' lawyers.       The numbers -- the numbers

    17     are staggering.

    18                   For this , Mr. Sullivan made roughly --

    19                  THE COURT:     What was the counsel fees

    20     figure ?     You said $2.5 billion?

    21                  MR. PALERMO:    $2.35 million .      I'm sorry

    22     if I made it sound like a B.          It's an M.

    23                  THE COURT:     I awarded part of that fee,

    24     and I am sure it wasn't $2.35 billion.

    25                  MR. PALERMO:    No, no.     It's definitely
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     1     $2.35 million.      There's no B; definitely an M.           My

     2     enunciation may be lacking this morning .

     3                  For this , Mr. Sullivan made over

     4     $600,000.     He used the money to pay primarily his

     5     day -to -day personal and recreational expenses.             He

     6     used the money to live.

     7                  Mr . Sullivan started what I can only

     8     describe as a fire storm for Certegy , but

     9     certainly also for at least quite a few of the

    10     millions of individuals who received notice, the

    11     nearly six million who received notice that their

    12     information was taken.

    13                  I note, for example, that we know that

    14     information that was stolen from Certegy went to a

    15     company called Suntasia (ph), also known as

    16     Strategic Marketing (ph).         Suntasia is in

    17     receivership through an action of the Federal

    18     Trade Commission related to its practices.

    19                  The data was sold to telemarketers

    20     ultimately, but there is no real control over

    21     where this data went once it left the hands at

    22     least of Mr. Sullivan .        Mr. Sullivan can only

    23     control where he thought the data was going and

    24     where he sent the data, but once it left his

    25     hands -- electronic data is easily replicable .              It
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     1     goes into a database and appears over and over and

     2     over again.

     3                  One needs only consider the child

     4     pornography cases the Court sees on a routine

     5     basis to know that those images -- that data in

     6     electronic format once let lose upon the world

     7     never quite goes away.         This has ongoing

     8     repercussions.      It is a serious matter.

     9                  I always say that part of what happened

    10     to an individual is based not only on what they

    11     did in an offense, but what they did after.              And

    12     once he was arrested he did cooperate, and I have

    13     -- we have spoken on those matters.

    14                  Other than that, this offense is

    15     serious.     It is serious not just because it

    16     impacted Certegy, but it is serious because of all

    17     the other lives that it touched on and will

    18     continue to touch on for years.

    19                  For that reason, I would ask the Court

    20     to impose a guideline sentence in this case.              I

    21     have requested in the plea agreement that the

    22     period of incarceration be substantial.             That was

    23     my agreement with Mr. Brown in the plea agreement.

    24     I did not recommend low end or bind myself to

    25     recommend the low end.         I merely invite the Court
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     1     to consider the Sentencing Guidelines in this case

     2     and to apply what the Court feels is an

     3     appropriate sentence.

     4                 MR. BROWN:     Can I have one minute to

     5     speak to counsel?

     6                 THE COURT:     You may.

     7                  (Pause.)

     8                 MR. PALERMO:     Your Honor, may I have one

     9     more moment with counsel for the defense?

    10                 THE COURT:     Sure.

    11                  (Pause.)

    12                 THE COURT:     Anything further, Mr. Brown?

    13                 MR. BROWN:     No, Your Honor.

    14                 MR. PALERMO:     Your Honor, I'm sorry.         The

    15     only other thing I would note, if I may -- I'm

    16     sorry, Your Honor.

    17                 THE COURT:     Yes, sir.

    18                 MR. PALERMO:     I think the Court is in the

    19     best position to determine what a reasonable

    20     sentence is here.       In this particular matter, the

    21     -- and it is certainly the position of the United

    22     States Attorney 's Office that a guideline sentence

    23     is reasonable.

    24                 THE COURT:     Always.

    25                 MR. PALERMO:     Always.     So I -- this
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     1     particular case , as I said, has unique

     2     characteristics , and I invite the Court to

     3     consider the matter if the Court sees fit.              That's

     4     it, Your Honor.

     5                 THE COURT:     Am I correct that as a result

     6     of the diversion of the personal information that

     7     is the subject matter of this case, that although

     8     Certegy certainly has incurred costs both assessed

     9     against its treasury and assessed against its good

    10     will, and although persons were subjected

    11     presumably to unwanted solicitation and perhaps to

    12     costs associated with their acceptance of that

    13     solicitation in some instances , some unstated

    14     number of them so far as I know, that this is not

    15     an instance where credit information was diverted

    16     to third parties who used that information to

    17     incur debt visited upon the innocent persons whose

    18     information was stolen?

    19                 MR. PALERMO:     That is correct, Your

    20     Honor.

    21                 THE COURT:     It was a potential for that.

    22                 MR. PALERMO:     That is correct.

    23                 THE COURT:     And there remains today a

    24     potential for that , if I understand correctly , the

    25     gross information in front of me.
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     1                 MR. PALERMO:     That is correct.       There is

     2     no information that it was used in the traditional

     3     identity theft sense.

     4                 THE COURT:     The other sort of -- so that

     5     you will understand the inferences that I am

     6     making here and have a chance to accost them, I

     7     infer, although not absolutely , that the passage

     8     of time is so great here that the potential for

     9     that sort of episode, that is, the incurring of

    10     debt by third parties and that debt is visited on

    11     innocent victims is, while not largely -- while

    12     not wholly gone , is largely gone.          Experience

    13     would teach that it's probably now not going to

    14     happen --

    15                 MR. PALERMO:     That is correct.

    16                 THE COURT: -- on any large skill.

    17                 MR. PALERMO:     I believe the risk is

    18     diminished by the passage of time and certainly by

    19     the actions taken after everything was uncovered

    20     to secure the information.

    21                 THE COURT:     All right.     Well, then in

    22     sentencing the defendant , I am not sure what the

    23     effect of it is, but I am not assuming that I

    24     should give any material weight to any prospective

    25     instances of credit theft and utilization.
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     1                  Any reason not to proceed to sentence?

     2                 MR. PALERMO:     No, Your Honor.

     3                 THE COURT:     Mr. Brown?

     4                 MR. BROWN:     No, Your Honor.

     5                 THE COURT:     Mr. Sullivan , you have

     6     created quite a stir.

     7                 THE DEFENDANT:      Yes, sir.

     8                 THE COURT:     Over a long period of time,

     9     you 've caused a lot of people a lot of trouble.              I

    10     guess the good part of this episode is the one

    11     that I just mentioned, that there were -- this

    12     appears to have been confined by relatively prompt

    13     action and good fortune to simply harassment by

    14     telemarketers.      That is the good news for you.

    15     The bad news is that it still caused a huge mess.

    16     It serves to visit anxiety and disruption on an

    17     almost unimaginable number of people.

    18                  You know , as stories of this sort go

    19     through our information media, people hear about

    20     it and feel less secure in their day-to-day lives,

    21     less confident making transaction s in the

    22     marketplace.

    23                  I suppose that most major reservoirs or

    24     those in charge of the major reservoirs of this

    25     kind of information are now more -- are better
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     1     informed and better able to prevent those who

     2     would act as you acted from committing their

     3     crimes .   But nonetheless , this sort of activity

     4     plays a major part in the day-to-day life of our

     5     country and other countries and brings on a great

     6     deal of misery.       And this kind of activity simply

     7     must be quashed or it stands to create, again,

     8     almost an untold amount of disruption.

     9                  As I'm sure you know, and you didn't

    10     intend it this way, but the fact that you didn't

    11     have a 401(k), and the fact that your wife didn't

    12     work, doesn't mitigate that a bit.            I don't want

    13     to take a shot at anything that you said because

    14     you meant it in a different manner, and I took it

    15     in the manner that you meant it.           Don't be

    16     concerned about that.

    17                  We don't have a lot of these offenses.

    18     You probably took that from our discussion about

    19     what a typical offense of this nature might be.

    20     There is not yet, I think, sufficient backlog of

    21     these cases to make an assessment of what is

    22     statistically typical about them or what their

    23     distinguishing attributes are, but nonetheless, I

    24     view this as a crime that's not to be winked and

    25     nodded at and not to be overlooked just because
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     1     its origins might be in the insecurities and

     2     anxieties of corporate life and family life in

     3     middle America, which are common to a huge number

     4     of persons.

     5                  In any rate, I am certainly glad that

     6     this offense was not worse, and its victims were

     7     not more seriously penalized than they were.

     8                  Pursuant to the Sentencing Reform Act of

     9     1984 to the extent that it remains applicable

    10     after United States vs. Booker, and pursuant to 18

    11     U.S.C. §§ 3551 and 53, William Gary Sullivan is

    12     committed to the Bureau of Prisons for 57 months

    13     as to Count 1, and 18 months as to Count 2, those

    14     terms to run consecutively, excuse me,

    15     concurrently -- consecutively.           No, that's not

    16     right.    Yes, it is.

    17                  Upon release from imprisonment, the

    18     defendant shall serve a three-year term of

    19     supervised release.        And that is three years as to

    20     Counts 1 and 2, those terms to run concurrently.

    21                  While on supervised release, the

    22     defendant shall comply with the standard

    23     conditions adopted by the Court in the Middle

    24     District of Florida, including the following

    25     special conditions :       First, he shall be prohibited
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     1     from incurring credit charges, opening lines of

     2     credit and obligating himself for major purchases

     3     without approval in advance by the probation

     4     officer.

     5                  Two, he shall provide the probation

     6     officer with requested financial information.

     7                  Third , he shall refrain from employment

     8     that includes access to consumers ' personal

     9     information, including without limitation bank

    10     accounts, credit card accounts , home addresses,

    11     dates of birth, telephone numbers and the like.

    12                  As a qualifying felon, the defendant

    13     shall cooperate in the collection of his DNA, as

    14     directed by the probation officer .

    15                  I am pleased to waive the mandatory drug

    16     testing requirements of the Violent Crime Control

    17     Act .

    18                  Mr . Palermo, does the United States want

    19     to be heard on the question of restitution ?             The

    20     probation office has requested -- has recommended

    21     a $3,972,290 determination of restitution.              The

    22     parties are in agreement with that figure?

    23                 MR. PALERMO:     To some degree, Your Honor.

    24     I think the -- I know it wouldn't be my burden,

    25     but I don't know how the defendant would pay that
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     1     figure .

     2                 THE COURT:     I am absolutely certain he

     3     can 't.    I hope that he can and I am sure he hopes

     4     that he can, but of course he can't.            The only

     5     chance he would ever have of that probably would

     6     be if he were not a felon.          The defendant shall

     7     pay restitution in the amount of $3,972,290 to

     8     Certegy by directing a payment to Lynn Cravey, the

     9     senior vice-president in St. Petersburg at the

    10     address of the office on 100 Second Avenue South.

    11                  The probation office has recommended

    12     that the --

    13                  Ms . Stafford, I'm not sure I understand

    14     what your recommendation is here.           Will you

    15     announce it for me?        Are you recommending that he

    16     pay some fixed amount up front?

    17                 THE PROBATION OFFICER :       Yes, Your Honor,

    18     that he pay $60,000 immediately, and then of

    19     course pay while he is incarcerated if he has a

    20     Unicor job.

    21                 THE COURT:     All right.     And he pay a

    22     small amount monthly?        How much per month upon

    23     release?

    24                 THE PROBATION OFFICER :       I believe that

    25     has to be a typo, Your Honor.
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     1                 THE COURT:     I think it has to be a typo.

     2     If it is not a typo then there is hope that he can

     3     pay the $3 million after all.          But I think not.       I

     4     think this must mean $250 per month.

     5                 THE PROBATION OFFICER :       I think so, too,

     6     Your Honor.

     7                 THE COURT:     I did not independently

     8     evaluate his monthly ability to pay.

     9                 THE PROBATION OFFICER :       Yes.

    10                 THE COURT:     He can pay the $60,000 now?

    11                 MR. BROWN:     Well, his home is also where

    12     his wife lives.       I think since the PSR was done

    13     such a time ago, those numbers have changed.

    14                 THE COURT:     He would have to sell the

    15     homestead .

    16                 THE PROBATION OFFICER :       Well, there's

    17     also $77,000 in liquid assets in a checking

    18     account.

    19                 MR. BROWN:     I don't show that.       At the

    20     time he had $39,000.

    21                 THE COURT:     Mr. Brown, do you want to be

    22     heard on the question of whether he should be

    23     required to make a payment over and above and

    24     preceding his monthly levy?

    25                 MR. BROWN:     I do, Your Honor.
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     1                 THE PROBATION OFFICER :       Your Honor, may I

     2     bring something to your attention ?

     3                 THE COURT:     Yes.

     4                 THE PROBATION OFFICER :       I don't know if

     5     you intended -- the way the sentence was written

     6     in the sentencing statement , you actually imposed

     7     a sentence of 78 months, which is technically

     8     outside of the advisory guideline range.             The way

     9     it was written in the sentencing statement --

    10                 THE COURT:     I thought it was 78.        Was it

    11     71?

    12                 THE PROBATION OFFICER :       It was written

    13     the way it was because there is a five-year

    14     statutory maximum on each of Counts 1 and 2.              So

    15     it was split to make up the 78 months; one was 60

    16     and one was 18.

    17                 THE COURT:     And they are required to be

    18     consecutive.

    19                 THE PROBATION OFFICER :       Yes, with the

    20     original figure s.      The range of 57 and 71, I'm not

    21     sure exactly what range you were --

    22                 THE COURT:     I did mangle that.

    23                 MR. BROWN:     I was going to go back to

    24     that.

    25                 THE COURT:     I see what the problem is.           I
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     1     see what the problem is.          Does it -- it would

     2     split 40-17?

     3                 THE PROBATION OFFICER :       You could split

     4     it --

     5                 THE COURT:     It splits either way as long

     6     as it is consecutive with a five-year maximum .

     7                 THE PROBATION OFFICER :       Yes, if you are

     8     talking close to the top, 71 months, you could do

     9     60 and 11 , or however you'd like to, so long as --

    10     no more than 60 on either one of the counts.

    11                 THE COURT:     All right.     Mr. Brown, go

    12     ahead.

    13                 MR. BROWN:     I am still at a loss.        The

    14     sentence -- I thought you said consecutively.

    15                 THE COURT:     I clearly mangled it, but go

    16     ahead.    What do you propose ?

    17                 MR. BROWN:     Well, you are at 57 months,

    18     am I right?

    19                 THE COURT:     Go ahead and tell me what you

    20     proposed since you are not going to get 36.              Your

    21     next preference is 57, right?

    22                 MR. BROWN:     Yes.

    23                 THE COURT:     And you don't care how it's

    24     split?

    25                 MR. BROWN:     I don't care how it is split
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     1     as long as it is --

     2                 THE PROBATION OFFICER :       Well, if 57 was

     3     the intended sentence , it doesn't have to be

     4     split.

     5                 MR. BROWN:     That's under 60, so --

     6                 THE COURT:     It goes up to 60.

     7                 THE PROBATION OFFICER :       Yes, Your Honor,

     8     so it can be 57 and they can run concurrent.                But

     9     if you go over 60, then you have to split it.

    10                 THE COURT:     I understand that.       I just

    11     had not spot ted that 18 sitting there.            Let me

    12     just double check.

    13                  (Pause.)

    14                 THE COURT:     I am content to restate the

    15     sentence as 57 months as to Count 1 and 57 months

    16     as to Count 2 to run concurrently .           We'll do it

    17     that way.

    18                  I levy the special assessment of $200,

    19     which is due immediately .        I will waive the

    20     imposition of a fine, particularly in light of the

    21     large restitution that is due.

    22                  I have considered the factors arrayed at

    23     18 U.S.C. § 3553(a) as well as the advisory

    24     guideline range that is derived from the policies

    25     and guidelines of the United States Sentencing
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     1     Commission.

     2                   This offense is committed by a Category

     3     I offender, not precisely a first offender but

     4     treated by me on this occasion as a first

     5     offender, regarded by me as a first offender.

     6                   This offense is troubling and he is

     7     fortunate that it was not egregiously worse than

     8     it in fact was, which was bad enough.             It strikes

     9     me as an offense particularly sensitive to and

    10     requiring general deterrence.          This present state

    11     of circumstances offers both great temptation and

    12     great opportunity to commit this and similar

    13     offenses, probably motivated by matters similar to

    14     those that apparently motivate d this defendant to

    15     depart from his otherwise law-abiding life.              The

    16     consequences of these offenses are such that a

    17     grim penalty is due.        The consequences that reach

    18     out from this penalty clearly require protection

    19     for the public.       A great deal of damage can be

    20     done in a great hurry and almost irrefutably so.

    21     Unfortunately, not everyone insures themselves

    22     against the consequence of crimes of this nature,

    23     although I am sure that will become probably in

    24     due course as typical as automobile or home

    25     insurance .     For the moment, it is still possible
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     1     to visit devastating economic consequences on

     2     large numbers of persons in a very short period of

     3     time out of greed and self-interest.

     4                  I must say, without the assistance of

     5     the guidelines it would be quite a task indeed to

     6     come up with some absolute measure of the nature

     7     of this offense.       Looking at that which the

     8     commission has developed and considering this

     9     defendant and the consequences of his offense , it

    10     seems to me that the guideline range is right well

    11     calculated, and I give him the benefit of the low

    12     end of it on second thought owing to the good

    13     fortune that the credit crimes did not occur to

    14     the maximum intent and that the consequences to

    15     Certegy, which were undeserved and aggravated , do

    16     not reach the proportions that the other

    17     consequences of this crime could have.

    18                  Does counsel for the United States or

    19     the defense have any objection to the sentence or

    20     the manner in which it was announced other than

    21     those already stated?

    22                 MR. PALERMO:     No, Your Honor.

    23                 MR. BROWN:     No, Your Honor.

    24                 THE COURT:     Ms. Stafford , you look

    25     troubled.     Have I done something else?          Have I
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     1     mangled something else?

     2                 THE PROBATION OFFICER :       Did you ever

     3     resolve the amount of the lump sum payment ?

     4                 THE COURT:     I have.    I don't think I have

     5     announced it yet.

     6                 THE PROBATION OFFICER :       I just wanted to

     7     make sure I didn't miss it.

     8                 THE COURT:     What I resolved is that I

     9     don 't think we should require someone who has

    10     dependents living in a home to -- even if it is

    11     possible to liquidate their homestead or to render

    12     their dependents immediately penurious.             I don't

    13     think the United States asked for that.

    14                 MR. PALERMO:     We do not.

    15                 THE COURT:     So I am content to forbear

    16     any immediate lump sum payment and instruct him,

    17     as we typically instruct , to pay $25 quarterly if

    18     he has a Unicor job, and -- excuse me, if he has a

    19     non -Unicor job, and 50 percent of his monthly

    20     earnings if he has a Unicor job.

    21                  I think his presumptive restitution rate

    22     of pay upon release should be $250 per month until

    23     some demonstrable change in his ability to pay, at

    24     which moment an adjustment can be made.

    25                  The defendant may voluntarily surrender
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     1     at an institution designate d by the Bureau of

     2     Prisons within 60 days.         He should proceed

     3     immediately to the office of the United States

     4     Marshal for processing and further instructions.

     5                  In your plea agreement, Mr. Sullivan, I

     6     believe you have waived your right to appeal from

     7     this judgment and sentence unless I have sentenced

     8     you unlawfully, which typically meanings in excess

     9     of the statutory maximum or some perhaps departing

    10     upward .   I have done neither of those, so I think

    11     you may have no right of appeal.           That is for you

    12     and Mr . Brown to decide.

    13                  To the extent that an appeal is in the

    14     works, there are two things that I need to tell

    15     you with respect to that.         First, you have a right

    16     to counsel on appeal.        If you can't afford one,

    17     one would be provided for you.           As it stands now,

    18     Mr. Brown would be required to preserve any

    19     appellate interests that you choose to pursue

    20     unless and until other counsel is substituted .

    21                  Secondly, any notice of appeal, that is

    22     the filing that begins the appeal, must be made

    23     with the clerk of this court, in writing, within

    24     ten days, and accompanied by a filing fee.              If you

    25     are indigent , that is broke, and you can't pay the
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     1     fee , then by an appropriate motion the fee can be

     2     waived so that you can proceed without payment.

     3                  Perhaps most important for you remember

     4     is that you do have a right to a lawyer -- you

     5     have to appeal within ten days or you lose your

     6     right to appeal .

     7                  Anything further, Mr. Palermo ?

     8                 MR. PALERMO:     No, Your Honor.

     9                 THE COURT?     Anything further, Mr. Brown?

    10                 MR. BROWN:     No, Your Honor.

    11                 THE COURT:     Good luck to you, Mr.

    12     Sullivan.     We are in adjournment.

    13                 (Pause.)

    14                 (At side bar, on the record.)

    15                 THE COURT:     Let's resume our hearing for

    16     a moment.     I think that we are at side bar, but

    17     now not under seal .       I just overlooked to seal our

    18     second side bar, I think, so I now order that the

    19     second side bar remain under seal pending further

    20     order of the Court .

    21                  We are now in adjournment once again.

    22     Thank you.

    23                 (Proceedings concluded at 10:19 a.m.)

    24

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     1                        C E R T I F I C A T E

     2                     I, Kerry Mercade, certify that the

     3     foregoing is a correct transcript from the record

     4         of proceedings in the above-entitled matter.

     5                                      S/Kerry Mercade

     6                                      ________________________

     7                                      Kerry Mercade
                                            Court Reporter
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